                  UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

Sheila Kaye Abramski                                Case No.: 19-30207
                                                    Judge: Joel D. Applebaum
               Debtor,                              Chapter: 7
_________________________________/

  MOTION OF NATIONSTAR MORTGAGE, LLC D/B/A MR. COOPER
FOR TERMINATION OF THE AUTOMATIC STAY, AND WAIVING THE
 PROVISIONS OF FED.R.BANKR.P.4001 (a)(3) AS TO THE PROPERTY
       LOCATED AT 16364 SEYMUR RD., LINDEN, MI 48451


      Nationstar Mortgage, LLC d/b/a Mr. Cooper (“Movant”) moves this Court,
under §§ 361, 362, 363, 554 and other sections of the Bankruptcy Reform Act of
1978, as amended (the “Bankruptcy Code”) and under Rules 4001, 6007 and other
rules of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) for
an Order conditioning, modifying or terminating the automatic stay imposed by 11
U.S.C. § 362 of the Bankruptcy Code, and for a waiver of the provisions of
Fed.R.Bankr.P.4001(a)(3). In support of this Motion, the Movant states:

      1.      The Court has jurisdiction over this matter under 28 U.S.C. §§ 157
and 1334. This is a core proceeding under 28 U.S.C. § 157(b)(2).
      2.      The venue of this case and this Motion are proper under 28 U.S.C. §§
1408 and 1409. Movant consents to entry of final order or judgment on this
proceeding.
      3.      A petition under Chapter 7 of the United States Bankruptcy Code was
filed with respect to the Debtor on January 29, 2019.
      4.      On January 14, 2003 the Debtor listed above obtained a loan from 1st
National Financial, A Michigan Corporation, in the amount of $141,000.00, and


 19-30207-jda    Doc 25   Filed 06/19/19   Entered 06/19/19 16:37:07   Page 1 of 41
such loan was evidenced by a promissory note dated January 14, 2003 (the
“Note”). Debtor executed a Mortgage dated January 14, 2003 (the “Security
Instrument”), conveying to 1st National Financial, A Michigan Corporation, a lien
on real and/or personal property (the “Collateral”) owned by the Debtor, located at
16364 Seymur Rd., Linden, MI 48451. The lien is the first lien on the collateral.
      5.    The Note and Security Instrument were transferred as follows:

            (a) To Nationstar Mortgage, LLC d/b/a Mr. Cooper on April 29, 2019.
                 The transfer is evidenced by an Assignment of Mortgage.

      6.    In the event the automatic stay in this case is modified, this case
dismisses, and/or the Debtor obtain a discharge and a foreclosure action is
commenced on the mortgaged property, the foreclosure will be conducted in the
name of Movant. Movant, directly or through an agent, has possession of the Note.
The Note is either made payable to Movant or has been duly endorsed.
      7.    As of June 12, 2019, the outstanding amount of the obligations less
any partial payments or suspense balance is $148,231.26 This amount may not
include accrued interest, fees, late charges, escrow shortages, or corporate
advances.
      8.    In addition to the other amounts due to Movant reflected in this
Motion, as of the date hereof, in connection with seeking the relief requested in
this Motion, Movant has also incurred $750.00 in legal fees and $181.00 in costs.
      9.    As of June 12, 2019, the earliest month and year of any arrearage is
April 1, 2018.
      10.   The value of the Collateral may be $165,000.00. This valuation is
based upon the Debtor’s filed Bankruptcy Schedules.
      11.   Upon information and belief, the aggregate amount of encumbrances
on the Property listed in the Schedules or otherwise known, including but not


 19-30207-jda    Doc 25   Filed 06/19/19   Entered 06/19/19 16:37:07   Page 2 of 41
limited to the encumbrances granted to Movant is: (i) Movant ($148,231.26); (ii)
Citizens Bank ($45,000.00).
      12.      Cause exists for relief from the automatic stay for the following
reasons:
               a. Pursuant to § 362(d)(1), Movant lacks adequate protection of its
                  interest in the Property as Debtor continuously fails to make her
                  monthly payment obligation.
               b. Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor has no equity in the
                  Property and pursuant to§362(d)(2)(B) the Property is not
                  necessary for an effective reorganization.
               c. Pursuant to the Debtor’s Statement of Intention, it is her intent to
                  surrender the subject property.
      13.      Concurrence of Debtor for the relief sought was requested on June 14,
2019, and at the time of filing the motion, has not been received.

      WHEREFORE, Movant prays that this Court issue an Order terminating or
modifying the stay and granting the following.

      1. Relief from the stay, for all purposes allowed by law, the Note, the
Mortgage, and applicable law, including but not limited to the right to foreclose
allowing Movant to proceed under applicable non-bankruptcy law to enforce its
remedies to foreclose upon and obtain possession of the Property and any and all
other collateral pledged under the Mortgage.
      2. That the Order shall be binding and effective despite any conversion of
this bankruptcy case to a case under any other chapter of Title 11 of the United
States Code.
      3. That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be
waived.


 19-30207-jda     Doc 25    Filed 06/19/19   Entered 06/19/19 16:37:07   Page 3 of 41
     4. For such other and further relief as this Court deems just and proper.



Date: June 19, 2019                    /s/ Cheryl D. Cook
                                      Potestivo & Associates, P.C.
                                      By: Cheryl D. Cook (P52128)
                                      Attorney for Movant
                                      251 Diversion St.
                                      Rochester, MI 48307
                                      (248) 853-4400
                                      ccook@potestivolaw.com




 19-30207-jda   Doc 25   Filed 06/19/19   Entered 06/19/19 16:37:07   Page 4 of 41
                  UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

Sheila Kaye Abramski                                Case No.: 19-30207
                                                    Judge: Joel D. Applebaum
               Debtor,                              Chapter: 7
_________________________________/

         NOTICE OF MOTION OF SECURED CREDITOR FOR
      TERMINATION OF THE AUTOMATIC STAY AND WAIVING
          THE PROVISIONS OF FED.R.BANKR.P.4001(a)(3)

       Counsel for Nationstar Mortgage, LLC d/b/a Mr. Cooper has filed papers
with the court to terminate the automatic stay and waive the provisions of
Fed.R.Bankr.P.4001(a)(3).

      Your rights may be affected. You should read these papers carefully
and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.)

       If you do not want the court to enter an order to terminate the automatic stay,
or if you want the court to consider your views on the Motion of Creditor For
Terminating the Automatic Stay and Waiving the Provisions of Fed.R.Bankr.P.
4001(a)(3) within fourteen (14) days, you or your attorney must:

   1. File with the court a written response or an answer pursuant to
   Fed.R.Civ.P.8(b), (c) and (e) explaining your position at:

                          United States Bankruptcy Court
                               211 West Fort Street
                                Detroit, MI 48226

     If you mail your response to the court for filing, you must mail it early
enough so the court will receive it on or before the date stated above.




 19-30207-jda    Doc 25   Filed 06/19/19   Entered 06/19/19 16:37:07   Page 5 of 41
You must also mail a copy to:

Samuel D. Sweet                 Cheryl Cook                 Office of the U.S. Trustee
P.O. Box 757                    Attorney for Movant         211 West Fort St.
Ortonville, MI 48462            251 Diversion St.           Suite 700
                                Rochester, MI 48307         Detroit, MI 48226


       If a response or answer is timely filed and served, the clerk will schedule a
hearing on the motion and you will be served with a notice of the date, time, and
location of the hearing.


      If you or your attorney do not take these steps, the court may decide
that you do not oppose the relief sought in the motion or objection and may
enter an order granting that relief.



Date: June 19, 2019                     /s/ Cheryl D. Cook
                                       Potestivo & Associates, P.C.
                                       By: Cheryl D. Cook (P52128)
                                       Attorney for Movant
                                       251 Diversion St.
                                       Rochester, MI 48307
                                       (248) 853-4400
                                       ccook@potestivolaw.com




 19-30207-jda   Doc 25    Filed 06/19/19   Entered 06/19/19 16:37:07   Page 6 of 41
                  UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

Sheila Kaye Abramski                                 Case No.: 19-30207
                                                     Judge: Joel D. Applebaum
               Debtor,                               Chapter: 7
_________________________________/

 ORDER TERMINATING THE AUTOMATIC STAY FOR THE REAL
PROPERTY LOCATED AT 16364 SEYMUR RD., LINDEN, MI 48451 AND
    WAIVING THE PROVISIONS OF FED.R.BANKR.P.4001(a)(3)

      This matter came to be considered on the Motion for Termination from Stay
(the “Motion”) filed by Nationstar Mortgage, LLC d/b/a Mr. Cooper (“Movant”).
Movant has alleged that good cause exists for granting the Motion and that Debtor,
the Chapter 7 Trustee, and all other necessary parties were served with the Motion
and with notice and opportunity to object to the Motion. No party filed a response
or otherwise appeared in opposition to the Motion.
      Based on this, it appears appropriate to grant the relief requested.
NOW THEREFORE;
      IT IS HEREBY ORDERED that the Motion is granted and the automatic
stay imposed by 11 U.S.C. § 362 is terminated with respect to the Movant.
      IT IS FURTHER ORDERED that the automatic stay imposed by 11
U.S.C. § 362 is terminated with respect to the enforcement of the lien as it relates
to the property located at 16364 Seymur Rd., Linden, MI 48451.
      IT IS FURTHER ORDERED that the provisions of Fed.R.Bankr.P.
4001(a)(3) are waived and shall be effective immediately upon entry of this order.




 19-30207-jda    Doc 25   Filed 06/19/19   Entered 06/19/19 16:37:07    Page 7 of 41
      IT IS FURTHER ORDERED that this order shall remain in effect,
notwithstanding the conversion of this bankruptcy case to a case under any other
Chapter of Title 11 of the United States Bankruptcy Code.
      IT IS FURTHER ORDERED that at Movant’s sole discretion and in order
to avoid foreclosure of said property, Movant may offer and provide Debtor with
information regarding a potential Forbearance Agreement, Loan Modification,
Refinance Agreement or other Loan Workout/Loss Mitigation options and the
parties may enter into any such agreement with Debtor to the extent permitted by
the law. Movant may also continue to protect its lien pursuant to the terms of
security instrument, to the extent allowed by law. Movant may not enforce or
threaten any personal liability against Debtor if Debtor’s personal liability is
discharged in this bankruptcy case or while the case remains pending.




 19-30207-jda   Doc 25   Filed 06/19/19   Entered 06/19/19 16:37:07   Page 8 of 41
                  UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

Sheila Kaye Abramski                                Case No.: 19-30207
                                                    Judge: Joel D. Applebaum
               Debtor,                              Chapter: 7
_________________________________/

                                PROOF OF SERVICE

      I, Rachelle Magolan, state that on the 19th day of June, 2019 I served a copy
of the Motion for Terminating the Automatic Stay, Proposed Order Terminating
the Automatic Stay and Waiving the Provisions of Fed.R.Bankr.P. 4001(a)(3),
Notice of Motion and Proof of Service upon:
         Sheila Kaye Abramski              Glen Turpening
         11632 Clearwater Dr.              Frego & Associates, P.L.C.
         Fenton, MI 48430                  23843 Joy Road
                                           Dearborn Heights, MI 48127
         Samuel D. Sweet
         P.O. Box 757                      Office of the U.S. Trustee
         Ortonville, MI 48462              211 West Fort St., Ste. 700
                                           Detroit, MI 48226

by placing same in a well sealed envelope, by first class mail, with the proper
prepaid postage thereon and depositing same in a United States Mail receptacle in
the City of Rochester, State of Michigan to Debtor, and via CM-ECF electronic
filing to Debtor’s Attorney, the Chapter 7 Trustee, and Office of the U.S. Trustee.

                                       /s/ Rachelle Magolan
                                       Rachelle Magolan
                                       Employee of Potestivo & Associates, P.C.
                                       251 Diversion St.
                                       Rochester, MI 48307
                                       (248) 853-4400
                                       rmagolan@potestivolaw.com




 19-30207-jda    Doc 25   Filed 06/19/19   Entered 06/19/19 16:37:07     Page 9 of 41
                                             Redacted
                                                                   Redacted


                Redacted


     Redacted



                                                                                Redacted




                                                        Redacted




19-30207-jda    Doc 25     Filed 06/19/19   Entered 06/19/19 16:37:07         Page 10 of 41
19-30207-jda   Doc 25   Filed 06/19/19   Entered 06/19/19 16:37:07   Page 11 of 41
                        Redacted
                                                                   Redacted

                          Redacted
                                                                   Redacted




         Redacted                        Redacted




19-30207-jda        Doc 25         Filed 06/19/19   Entered 06/19/19 16:37:07   Page 12 of 41
19-30207-jda   Doc 25   Filed 06/19/19   Entered 06/19/19 16:37:07   Page 13 of 41
                                                                        Redacted




                                       Redacted

                                      Redacted
                                                  Redacted
                                                             Redacted




                          Redacted




      Redacted




19-30207-jda     Doc 25     Filed 06/19/19           Entered 06/19/19 16:37:07     Page 14 of 41
                             Redacted

                                        Redacted


                                                       Redacted




19-30207-jda   Doc 25   Filed 06/19/19             Entered 06/19/19 16:37:07   Page 15 of 41
                                     Redacted


                                           Redacted


                                                       Redacted




                Redacted




19-30207-jda   Doc 25      Filed 06/19/19        Entered 06/19/19 16:37:07   Page 16 of 41
                               Redacted


                                     Redacted

                                                    Redacted




19-30207-jda   Doc 25   Filed 06/19/19          Entered 06/19/19 16:37:07   Page 17 of 41
                               Redacted


                                      Redacted

                                                    Redacted




19-30207-jda   Doc 25   Filed 06/19/19           Entered 06/19/19 16:37:07   Page 18 of 41
                                Redacted


                                       Redacted


                                                       Redacted




19-30207-jda   Doc 25   Filed 06/19/19            Entered 06/19/19 16:37:07   Page 19 of 41
                               Redacted


                                   Redacted


                                                 Redacted




19-30207-jda   Doc 25   Filed 06/19/19        Entered 06/19/19 16:37:07   Page 20 of 41
                             Redacted


                                   Redacted


                                               Redacted




19-30207-jda   Doc 25   Filed 06/19/19        Entered 06/19/19 16:37:07   Page 21 of 41
                                Redacted


                                       Redacted

                                                       Redacted




19-30207-jda   Doc 25   Filed 06/19/19            Entered 06/19/19 16:37:07   Page 22 of 41
                             Redacted



                                        Redacted


                                                       Redacted




19-30207-jda   Doc 25   Filed 06/19/19             Entered 06/19/19 16:37:07   Page 23 of 41
                                 Redacted


                                        Redacted

                                                     Redacted




19-30207-jda   Doc 25   Filed 06/19/19         Entered 06/19/19 16:37:07   Page 24 of 41
                               Redacted



                                    Redacted


                                                  Redacted




                                                             Redacted




                                                             Redacted




19-30207-jda   Doc 25   Filed 06/19/19         Entered 06/19/19 16:37:07   Page 25 of 41
                                   Redacted



                                              Redacted

                                                         Redacted




19-30207-jda   Doc 25   Filed 06/19/19        Entered 06/19/19 16:37:07   Page 26 of 41
                                                           Redacted

                                                            Redacted

                                                                        Redacted
                    Redacted



               Redacted




19-30207-jda    Doc 25         Filed 06/19/19   Entered 06/19/19 16:37:07     Page 27 of 41
                                      Redacted



                                                 Redacted

                                                                 Redacted




                        Redacted




                                    Redacted




                                    Redacted




                         Redacted




19-30207-jda   Doc 25        Filed 06/19/19                 Entered 06/19/19 16:37:07   Page 28 of 41
                                         Redacted

                                                    Redacted

                                                               Redacted




19-30207-jda   Doc 25   Filed 06/19/19   Entered 06/19/19 16:37:07        Page 29 of 41
                                                        Redacted



                 Redacted                                     Redacted


                                                                         Redacted

               Redacted




19-30207-jda       Doc 25   Filed 06/19/19   Entered 06/19/19 16:37:07        Page 30 of 41
                                    Redacted



                                               Redacted

                                                                      Redacted




                                                               Redacted

                                                                      Redacted
                                                          Redacted               Redacted              Redacted




                                                    Redacted




         Redacted                                              Redacted




                         Redacted
19-30207-jda        Doc 25     Filed 06/19/19                  Entered 06/19/19 16:37:07    Redacted
                                                                                                           Page 31 of 41
                 Redacted




                               Redacted



                            Redacted



                                              Redacted




                                                                    Redacted




                                          Redacted




                 Redacted




19-30207-jda   Doc 25       Filed 06/19/19           Entered 06/19/19 16:37:07   Page 32 of 41
                                     Redacted




                                      Redacted


                                                            Redacted




                                                                           Redacted              Redacted


Redacted



                          Redacted




                                                                                      Redacted




             Redacted




           Redacted                              Redacted
19-30207-jda            Doc 25        Filed 06/19/19             Entered 06/19/19 16:37:07              Page 33 of 41
     Redacted




                                            Redacted



                                                       Redacted


                                                                      Redacted




                                                                                 Redacted




                               Redacted




                                                       Redacted




                                                                  Redacted

                                                                                            Redacted
                               Redacted




Redacted




                19-30207-jda    Doc 25    Filed 06/19/19            Entered 06/19/19 16:37:07          Page 34 of 41
Redacted




                                                            Redacted




                                                         Redacted
                             Redacted




   Redacted




              19-30207-jda    Doc 25    Filed 06/19/19       Entered 06/19/19 16:37:07   Page 35 of 41
                                                                           Redacted



                                                                                                 Redacted




                                                                                 Redacted




                    Redacted




                                                                          Redacted




                                                                    Redacted


                               Redacted




                                                                                                       Redacted
                                          Redacted       Redacted

19-30207-jda   Doc 25     Filed 06/19/19             Entered 06/19/19 16:37:07                 Page 36 of 41
                                                                                            Redacted
                                                    Redacted




   Redacted
                                                               Redacted
                                                                          Redacted




                 Redacted




19-30207-jda   Doc 25       Filed 06/19/19   Entered 06/19/19 16:37:07               Page 37 of 41
                  Redacted




19-30207-jda   Doc 25        Filed 06/19/19   Entered 06/19/19 16:37:07   Page 38 of 41
                 Redacted




19-30207-jda   Doc 25       Filed 06/19/19   Entered 06/19/19 16:37:07   Page 39 of 41
                 Redacted




19-30207-jda   Doc 25       Filed 06/19/19   Entered 06/19/19 16:37:07   Page 40 of 41
                 Redacted




19-30207-jda   Doc 25       Filed 06/19/19   Entered 06/19/19 16:37:07   Page 41 of 41
